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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF SOUTH CAROLINA
                           FLORENCE DIVISION

United States of America,                    Crim. No. 4:07-cr-00794-TLW-1

       v.
                                                             Order
Derrick Anthony Lucas



      This matter is before the Court on Defendant’s motion for a sentence reduction

pursuant to the First Step Act of 2018, passed by Congress and signed into law by the

President on December 21, 2018. Pub. L. No. 115-391, 132 Stat. 5194. This law

contains sentencing provisions that apply retroactively to certain defendants

previously sentenced.

      Defendant was convicted at trial of three counts:

      Count 1:     Possession With Intent to Distribute 5 Grams or More of Cocaine
                   Base, in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B)(iii);

      Count 2:     Using and Carrying a Firearm, During and In Relation to, and
                   Possessing a Firearm in Furtherance of a Drug Trafficking Crime,
                   in violation of 18 U.S.C. § 924(c)(1)(A);

      Count 3:     Felon in Possession of a Firearm, in violation of 18 U.S.C.
                   § 922(g).

      After taking into account the § 851 Information that the Government

previously filed, his statutory sentencing range on Count 1 was 10 years to Life,

followed by at least 8 years of supervised release. PSR ¶¶ 120, 124. At sentencing,

his Guidelines range was 324 to 405 months, plus 60 months consecutive on Count 2,

followed by 8 years of supervised release. PSR ¶¶ 121, 127; ECF No. 124. The Court

imposed a total sentence of 384 months, followed by an 8-year term of supervised


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release.1   ECF No. 123.     After two sentence reductions pursuant to Guidelines

amendments, his total custodial sentence is currently 288 months, followed by 8 years

of supervised release.2 ECF Nos. 166, 185.

      Section 404(b) of the First Step Act provides that “[a] court that imposed a

sentence for a covered offense may . . . impose a reduced sentence as if sections 2 and

3 of the Fair Sentencing Act of 2010 . . . were in effect at the time the covered offense

was committed.” Section 404(a) defines “covered offense” as “a violation of a Federal

criminal statute, the statutory penalties for which were modified by section 2 or 3 of

the Fair Sentencing Act of 2010 . . . , that was committed before August 3, 2010.” As

noted above, Count 1 charged him with violating 21 U.S.C. § 841(b)(1)(B)(iii). Section

2(a) of the Fair Sentencing Act modified the statutory penalties set forth in

§ 841(b)(1)(A)(iii) by increasing the threshold amount of crack from 5 grams to 28

grams. Thus, he is eligible for a sentence reduction under § 404(b) of the First Step

Act. See United States v. Wirsing, 943 F.3d 175, 185 (4th Cir. 2019).

      Defendant’s motion is not entirely clear about whether he is requesting a full

resentencing. To the extent he is, Judge Currie has considered this question and

concluded that a First Step Act defendant is not entitled to a full resentencing.

United States v. Shelton, No. 3:07-329 (CMC), 2019 WL 1598921, at *2–3 (D.S.C. Apr.


1Specifically, his original sentence of imprisonment consisted of concurrent terms of
324 months on Count 1 and 120 months on Count 3, plus 60 months consecutive on
Count 2.
2Specifically, his current sentence of imprisonment consists of concurrent terms of
228 months on Count 1 and 120 months on Count 3, plus 60 months consecutive on
Count 2.

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15, 2019). The Court notes Judge Currie’s thorough, well-reasoned opinion and

adopts her analysis of the applicable law in this case. Thus, the Court concludes that

although Defendant is eligible for a sentence reduction, he is not entitled to a full

resentencing. See also Wirsing, 943 F.3d at 181 n.1 (“Defendant does not contest that

his relief, if any, will be in the form of a limited sentence modification rather than a

plenary resentencing.”).

       Though Defendant is eligible for a sentence reduction, a reduction is not

automatic. Section 404(c) of the First Step Act explicitly provides that “[n]othing in

this section shall be construed to require a court to reduce any sentence pursuant to

this section.” Notably, Wirsing did not address whether that particular defendant’s

sentence should have been reduced, only that he was eligible for consideration. See

id. at 186.

       In considering whether to reduce Defendant’s sentence, the Court has carefully

reviewed the Presentence Investigation Report and Sentence Reduction Report

(SRR), and has considered the current statutory range, the Guidelines range, the

§ 3553(a) factors, and evidence of post-sentencing mitigation.3      In light of these

considerations, the Court concludes that a reduction to his term of imprisonment is

not appropriate in this case. There are several reasons why the Court has reached

this conclusion, including (1) application of the First Step Act does not change his


3 The Court’s consideration includes the arguments he raised in his First Step Act
motion, including his asserted lack of prior convictions for “serious violence against
another person,” the length of his prior sentences, that the conviction listed in the
§ 851 Information would no longer qualify for § 851 purposes, and the possibility of a
variance under Dean v. United States, 137 S. Ct. 1170 (2017).

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Guidelines range, which remains at 210 to 262 months—the same range that applied

when the Court reduced his sentence pursuant to Amendment 782; (2) he was held

accountable at sentencing for 1.5 kilograms of crack; (3) he possessed a firearm in

connection with his drug dealing activities; (4) he has a lengthy and significant

criminal record, including convictions for assault, burglary, grand larceny of a

vehicle, and numerous drug offenses, both possession and distribution; and (5) he was

on probation when he committed the instant offense. However, the First Step Act’s

change of his statutory term of supervised release to at least 6 years results in a

corresponding change to his Guidelines range of supervised release, and the Court

concludes that it would be appropriate to reduce his supervised release term to 6

years.4


4 In most cases where a defendant was held accountable at sentencing for a crack
weight that substantially exceeds the current threshold, the Court has denied a First
Step Act reduction to both the prison term and the supervised release term. That
approach is based on the reasonable assumption that if the post-Fair Sentencing Act
threshold amounts had been in place when the offense was committed, the
Government would have charged that higher threshold amount. See, e.g., United
States v. Crawford, No. 4:05-cr-00470-TLW-1, 2020 WL 95689, at *2 (D.S.C. Jan. 8,
2020) (denying a First Step Act motion where the defendant was convicted of 50
grams or more of crack, but was held accountable for a crack weight of 5.4 kilograms),
appeal docketed, No. 20-6098 (4th Cir. Jan. 22, 2020). But here, it is reasonable to
conclude that the Government would not have charged the higher threshold amount.

The factual basis of Count 1 was that a search of Defendant’s residence uncovered
about 14 grams of crack, among other illegal items. See PSR ¶ 13. As a result, he
was charged with possessing with intent to distribute 5 grams or more of crack. But
because the amount found at his residence was lower than the current 28-gram
threshold, the Government could not have charged him with the current
§ 841(b)(1)(B) threshold amount as a result of that conduct. Thus, if the Fair
Sentencing Act had been in place at the time of his indictment, he only would have
been charged with possessing with intent to distribute a quantity of crack, in violation
of § 841(b)(1)(C), not (b)(1)(B). For that reason, he is unlike most other defendants
where it is reasonable to conclude that they would have been charged under the
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      Pursuant to the First Step Act and for the reasons set forth in the motion and

SRR, Defendant’s motion, ECF No. 214, is GRANTED IN PART AND DENIED IN

PART, as set forth above. An amended judgment will follow.

      IT IS SO ORDERED.

                                       s/ Terry L. Wooten
                                       Terry L. Wooten
                                       Senior United States District Judge

September 24, 2020
Columbia, South Carolina




current threshold amounts if the Fair Sentencing Act had been in place at the time
of their indictments. Here, if Defendant had been charged under § 841(b)(1)(C), his
Guidelines range would have been the same, but his supervised release term would
have been reduced from 8 years to 6 years.

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